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                       Exhibit 7
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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                             )
EXXON MOBIL CORPORATION,                     )
                                             )
                      Plaintiff,             )
                                             )
              v.                             )       Civil Action Nos. H-10-2386 (LHR)
                                             )                         H-11-1814 (LHR)
UNITED STATES OF AMERICA,                    )
                                             )
                      Defendant.             )
                                             )

                           DECLARATION OF PETER J. GAGNON

       I, Peter J. Gagnon, declare as follows:

        1.      I am over 18 years of age, and I am fully competent to make this declaration. I
reside at 3914 Bellows Bend Court, Katy, Texas, 77450. I have personal knowledge of the facts
set forth in this declaration and am competent to testify to them if necessary. All of the facts
stated herein are true and correct.

        2.      I am a Senior Partner with Environmental Resources Management (ERM), a
leading global provider of environmental, health, safety, risk, social consulting, and
sustainability services. I graduated from Villanova University in Villanova, Pennsylvania with
a Bachelor of Civil Engineering in 1992 and obtained a Master of Science in Environmental
Engineering from the University of Massachusetts in Amherst, Massachusetts in 1994. I have
over 19 years of professional experience as an environmental consultant with ERM, primarily in
the area of site assessment and remediation at industrial sites (including refineries, chemical
plants, etc.) for private sector clients. Most of the sites at which I have worked are located in
Texas, Louisiana, Alabama, or Montana. I am a licensed Professional Environmental Engineer
in Texas and Montana. In addition, I am a Board Certified Environmental Engineer by the
American Academy of Environmental Engineers in the specialty area of Hazardous Waste
Management. My resume and qualifications are attached as Attachment 1.

       3.      I have been working on various environmental assessment, remediation, and
compliance projects at the ExxonMobil Baytown Complex and adjacent areas (“Baytown Site”)
since 2003. From 2007 to 2013 I was partner-in-charge of all ERM projects at the Baytown
Complex and am responsible for directing a team of engineers and scientists conducting
assessment, monitoring, and cleanup activities at the Baytown Site. Since 2013 I have been
partner-in-charge for select assessment, remediation, and compliance projects at the Baytown
Site. Given my extensive knowledge of and involvement in past cleanup activities at the
Baytown Site, I understand that I may be called by Exxon Mobil Corporation (“ExxonMobil”) to




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testify as a factual witness regarding the nature and conduct of certain environmental cleanup
actions at the Baytown Site in the above-captioned cases.

        4.     Based on my knowledge of the past and ongoing cleanup work at the Baytown
Site, ExxonMobil has been conducting inter-related and coordinated environmental
investigations and cleanup work to respond to and address historical contamination (i.e., past
releases of hazardous substances that resulted from historical operations, including operations
occurring during the wartime period) at the Baytown Site. A significant portion of this past and
ongoing cleanup work has been voluntary in nature. For example, much of ExxonMobil’s
relevant cleanup work performed prior to issuance of the two Agreed Orders in 1995 was
voluntary as it was not done under an administrative settlement with a federal or state
governmental entity. This cleanup work included, for instance, the closure of Separators 2, 3M
and 10 and the South Landfarm, and delay of closure of the Lower and Upper Outfall Canals
and the Velasco Street Ditch. Subsequently, ExxonMobil has been working with the Texas
Commission on Environmental Quality (“TCEQ”) to establish a Facility Operations Area
(“FOA”) for the refinery and the chemical plant, respectively, at the Baytown Site. TCEQ
established the voluntary FOA program so that large industrial facilities could develop and
implement a facility-wide, cost-effective approach for addressing contamination at the facility at
issue under the approval and oversight of TCEQ, and this process is ongoing at the Baytown
Site.

       5.      I have also been retained by ExxonMobil to serve as an expert witness to address
key aspects of the environmental cleanup program at the Baytown Site. I submitted a rebuttal
report dated December 20, 2012 (“Rebuttal Report”) and gave testimony in a subsequent
deposition in this case. My statements in this declaration merely summarize or address my
opinions previously provided in my Rebuttal Report. However, since Dr. Kittrell attempts to
apply the empirical equation known as “Darcy’s Law” which he had not previously discussed,
my statements in this declaration also address matters related to this scientific topic. I
incorporate by reference my Rebuttal Report which is attached hereto as Attachment 2 into this
sworn declaration.

       6.      Both Dr. Kittrell and Mr. Low question the validity of two process efficiency
improvement factors - the 70% separator sludge reduction factor and the 90% pre-separators oil
reduction factor - employed by expert allocator Richard White. Kittrell Declaration ¶¶ 9 and 10;
Low Declaration ¶¶ 24 and 30. However, Mr. White’s use of these two process efficiency
improvement factors is appropriate for several reasons.

            a. Separator sludge is a basic, common contaminant generated by the operations of
               oil refineries. According to an historical and technical journal article regarding
               the generation and management of solid wastes by the petroleum industry, while
               “the final products have changed, certain characteristics of petroleum refining
               have endured” and one of those characteristics is that “petroleum refining
               generates sludges.”1 In fact, the “four major types of sludge generated by

1       J. Perkins. An Historical Overview of Solid Waste Management in the Petroleum Industry,
Discussion Paper # 062 (American Petroleum Institute; Oct. 1990) (“Historical Overview of Solid Waste
Management in the Petroleum Industry”) at 9. [BAYTECH-00014798 to BAYTECH-00014857 at
BAYTECH-00014811].


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                 refineries [are] processing, cooling tower, wastewater treatment, and slop oil
                 sludges.”2 However, since the late 1940s the petroleum refining industry has
                 implemented numerous production and waste processing efficiencies to reduce
                 the generation of sludges, and to improve the separators’ design and
                 construction and the refinery’s overall waste processing facilities in order to
                 better manage and treat such sludges.3 This is one of the basic forms of pollution
                 generated by refineries.

                      i. One of the primary reasons why the petroleum refining industry sought
                         to reduce sludge generation and improve waste processing facilities was
                         because separator sludge was a significant, potential source of
                         contamination. For example, separator sludge was a significant source of
                         historical soil, ground water and surface waters/sediments
                         contamination at the Baytown Site prior to the elimination of earthen
                         separators, sludge pits and other surface impoundments a number of
                         decades ago at the Baytown Site. Sludge historically contributed to
                         contamination at the Baytown Site in numerous locations and respects,
                         such as, for example, the following: (1) soils and ground water at or in
                         the vicinity of the separators where much of the sludge was removed
                         from the wastewaters; (2) soils and ground water in the vicinity of a
                         number of former earthen sludge pits, such as, for example, Separator 3M
                         or solid waste management unit (“SWMU”) 59 once a portion of Mitchell
                         Bay; (3) the Outfall Canals and the soils and ground water at or in the
                         vicinity of the Canals because the wastewater conveyed to the Canals
                         would have contained residual sludge; and (4) adjacent surface waters
                         where the wastewater containing residual sludge was historically
                         discharged.

                      ii. Given that such sludge was a significant, potential source of historical
                          contamination to many areas at the Baytown Site, reductions in the
                          generation of sludge would have had a direct effect on its contribution to
                          the overall contamination at the Baytown Site. Therefore, the historical
                          data confirming a 70% reduction in overall separator sludge generation at
                          the Baytown Site by 1957 compared to 1947 sludge generation levels4
                          would likely have resulted in a comparable reduction in contamination
                          resulting from the generation of separator sludge by 1957 at the Baytown
                          Site as well. (Please also see Paragraph 6.d and 6.e below where I further
                          discuss the correlation between sludge generation and contaminant
                          contribution in regard to my rebuttal of Dr. Kittrell’s flawed reliance on
                          the scientific topic known as “Darcy’s Law”).

                     iii. In addition, the oil (both free-phase and emulsified) in the wastewater is
                          also a significant, potential source of historical soils, ground water and

2      Id.
3      Id. at 11-15.
4      Id. at 11-13 (citing S. Brady. The Oil & Gas Journal. Mar. 3, 1958. Solids Waste Disposal. [BAYC-00013621 to
BAYC-00013624]).


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                  surface waters/sediment contamination throughout the Baytown Site. In
                  regard to the refinery’s historic waste processing system, wastewaters
                  were conveyed to and treated in a number of the same or similar types of
                  earthen waste units identified above, and therefore, the oils in the
                  wastewaters may have contributed to the contamination at numerous
                  locations at the Baytown Site. Therefore, Dr. Kittrell’s claim that the
                  historical data confirming a 90% reduction in oil content in the
                  wastewater as a result of the installation and operation of the three pre-
                  separators by 1958 “is not relevant to soil contamination at the master
                  separator and its resultant remediation cost” or “to the entire Baytown
                  refinery”, Kittrell Declaration ¶ 10 at p. 8, is incorrect.

             iv. Given the 90% reduction in the oil in the wastewaters by 1958 that was
                 conveyed from the pre-separators to Separator 10 and other downstream
                 waste units, this would result in a comparable reduction of the oil in the
                 wastewater that was entering downstream waste units, and also result in
                 the removal of potential contaminant source mass (both free-phase and
                 emulsified oils, and dissolved phase hydrocarbons) that could release
                 from a waste unit through which the wastewater was conveyed and
                 contaminate the soil and ground water surrounding and beneath the
                 waste unit.

              v. Thus, these two process efficiency improvement factors employed by Mr.
                 White in his allocation were valid, and should be viewed as reasonable
                 surrogates for relating the pollution conditions associated with the
                 production of refinery products.

       b. Dr. Kittrell’s criticisms, which Mr. Low relies upon, regarding these two process
          efficiency factors are not valid because Dr. Kittrell (1) fails to take into account
          how the design, construction and maintenance of the separators and other waste
          units during the wartime period as compared to the post-war period directly
          affected the nature and extent of releases of oil and other contaminants from the
          sludge and water in these waste units; and (2) applies a scientific concept -
          Darcy’s Law - that lacks a contaminant contribution component, and for
          additional site-specific reasons is ill-suited for the purpose for which Dr. Kittrell
          employs it.

       c. First, Dr. Kittrell fails to take into account how the design, construction and
          maintenance of the separators and other waste units during the wartime period
          as compared to the post-war period would have substantially exacerbated the
          buildup of sludge in the units and the release of oil and other contaminants in
          the sludge and wastewater in the units into the surrounding soils and ground
          water.

               i. My Rebuttal Report described how during the wartime period the
                  separators, Outfall Canals and other waste units were earthen surface
                  impoundments, were not equipped with liners or sealed walls to prevent
                  leaking, lacked continuous skimming or dredging equipment, and were


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                          not subject to leak detection monitoring, and therefore, as a result their
                          simple design and limited maintenance and monitoring resulted in a
                          greater buildup of sludge in the separators and regular releases and leaks
                          from not only the bottom of the units but from the sidewalls as well.

                      ii. Dr. Kittrell failed to take into account these key differences in the
                          technical and operational aspects of the separators and similar waste
                          units when comparing the wartime period to the post-wartime period.
                          For example, in describing the operation of the oil/water separators, Dr.
                          Kittrell states that “[t]he oil is skimmed off the top, and the sludge is
                          scrapped off the bottom.” Kittrell Declaration ¶ 13.f. However, as I noted
                          above and in my Rebuttal Report, continuous skimming and dredging
                          equipment was not installed in Separator 10 at the Baytown Refinery
                          until the early 1950s. Rebuttal Report at p. 6. This implies that for a
                          portion of its operational life, Separator 10 was not equipped with the
                          necessary equipment to operate as described by Dr. Kittrell. Similarly, a
                          review of wartime-era aerial photographs indicated a lack of skimming or
                          scraping equipment on Separator 2 (SWMU 69)5. Settled solids would
                          accumulate in Separator 2 until they were periodically removed and
                          placed in the adjacent sludge pit (SMWU 59) for storage and disposal.
                          Therefore, in the absence of skimming and dredging equipment, these
                          separators would have had a commensurately greater amount of sludge
                          buildup during periods, principally the wartime period, of greater sludge
                          generation rates.

                     iii. In addition, given the condition and limited maintenance of these waste
                          units, it is quite likely that contaminated wastewaters containing free-
                          phase and emulsified oils and dissolved-phase constituents were
                          regularly released from the units through cracks, voids, pore spaces or
                          microfractures within the sidewalls of the units by hydrostatic pressure
                          into the surrounding native strata via advective and dispersion/diffusion
                          transport, and not merely through releases of oil and other contaminants
                          through the bottom of the separators. Thus, the soil and ground water
                          underlying and in the vicinity of the separator would have become
                          contaminated as the result of releases of hazardous substances from both
                          the bottom and sidewalls of the separator.

                     iv. In contrast, Dr. Kittrell expresses a narrow and inaccurate view of
                         pollution effects from the separators by suggesting that the only potential
                         source of environmental contamination is settled solids accumulated in
                         the bottom of the unit. It is simply incorrect for Dr. Kittrell to disregard
                         the fact that releases of free-phase or emulsified oils and/or hydrocarbon-
                         affected wastewater through the sidewalls was a viable contaminant
                         transport pathway to the soils and underlying ground water in the
                         vicinity of the separators because releases of hydrocarbon-affected liquids

5   ERM. Assessment of Petroleum Hydrocarbon Extent, Northwest Dock Area. ExxonMobil Baytown Refinery,
    Baytown, Texas. September 13, 2011. [BAYTECH-00122598]


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                  within the separator through the unit’s sidewalls can represent a
                  significant source of contamination. Nevertheless, Dr. Kittrell elects to
                  ignore this release mechanism and its resultant contamination stating that
                  even if oil were removed by the pre-separators, this “is not relevant to
                  soil contamination” at the separator where the wastewaters are
                  subsequently conveyed. Kittrell Declaration ¶ 10.d. In fact, Dr. Kittrell
                  contradicts his own findings, because in his declaration Dr. Kittrell
                  acknowledges that contamination of the soils around the separator may
                  have occurred “by dissolved oil and by suspended oil and sludge that
                  creeps from beneath (or through cracks) in the oil/water separator into
                  the surrounding soil.” Kittrell Declaration ¶ 13.c (underline added). In
                  his rebuttal report Dr. Kittrell also acknowledged that some oil and
                  sludge may be retained in the wastewater effluent and transferred to
                  downstream wastewater management units, such as the Outfall Canals,
                  thereby serving as a source of contamination originating from these units.
                  Kittrell Rebuttal Rpt. (Nov. 16, 2012) at p. 34.

       d. Furthermore, Dr. Kittrell applies a scientific concept - Darcy’s Law - that lacks a
          contaminant contribution component, and therefore, is ill-suited for the purpose
          for which Dr. Kittrell employs it; namely, Dr. Kittrell attempted to use Darcy’s
          Law to determine whether and to what extent the sludge in the separators was a
          source of contamination of the surrounding soils and ground water.

               i. In his declaration, Dr. Kittrell opines that “the amount of sludge that is
                  recovered from an oil/water separator is not useful as a metric for
                  assessing the extent and amount of oil contamination that was
                  remediated from around and below the refinery oil/water separators.”
                  Instead, according to Dr. Kittrell, the “science and engineering of ‘flow
                  through porous media’ governs the calculation of the extent of soil
                  contamination, and hence the cost of remediation of such a site” and that
                  “[o]ne established method of making such calculations uses ‘Darcy’s
                  Law’”.     Kittrell Declaration ¶ 13. However, Dr. Kittrell’s claim that
                  “Darcy’s Law” can be used to describe the flow of contaminants through
                  the earthen bottom and sidewalls of the separator to estimate the amount
                  of resulting contamination in the underlying soils and ground water is
                  not valid, and therefore, is not an appropriate method to calculate the
                  extent of historical contamination attributable to certain time periods of
                  the Baytown refinery’s operation for the following reasons.

              ii. As an initial matter, the “topic” of “flow through a porous media” (as
                  described by Darcy’s Law) alone is not sufficient to estimate the resultant
                  environmental contamination and subsequent remediation caused by
                  releases from the Baytown Refinery oil/water separators to surrounding
                  soils and ground water because Darcy’s Law fails to take into account the
                  potential contaminant contribution of the settleable solids in the
                  separator.




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             iii. Darcy’s Law describes fluid flow through a porous media and can be
                  presented in an algebraic equation that includes terms for hydraulic
                  conductivity, hydraulic gradient, and the cross-sectional area of flow.
                  However, the equation does not include any term for contaminant
                  concentration. While Darcy’s Law is appropriate to estimate the rate at
                  which fluids released from a refinery’s oil/water separators move
                  through the subsurface, it does not accurately predict how contaminants
                  released from the separators move through and interact with the
                  environment.

       e. In any event, even if Darcy’s Law was a valid approach for determining the
          contaminant contribution of the separators and similar waste units, Dr. Kittrell’s
          use of Darcy’s Law fails to take into account (1) the effect of the sludge in the
          separators, and more particularly, the greater amounts of sludge in the
          separators during the wartime period as compared to the post-1956 period; (2)
          the greater amounts of oil contamination in the sludge and the wastewater as
          well during the wartime period; and (3) how the 70% reduction in separator
          sludge generation between 1947 and 1957, and the 90% reduction in oil content in
          the wastewater by the mid- to late 1950s effected the contaminant contribution to
          the underlying soils and ground water by the separators and other downstream
          units, such as the Outfall Canals.

               i. First, Dr. Kittrell incorrectly opines that the hydrostatic pressure head
                  resulting from the contaminated water column atop the sludge in the
                  separator “remains constant, regardless of the amount of sludge in the
                  wastewater” throughout the operational life of the separator because “the
                  depth of water in the oil/water separator ... remain[s] constant during the
                  years of operation,” and therefore, the release of oil and other
                  contaminants from the separator to the surrounding soils and ground
                  water also remains constant over the operational life of the separator.
                  Kittrell Declaration ¶ 13.f. Dr. Kittrell bases this opinion on an erroneous
                  assumption; specifically, Dr. Kittrell assumes that the amount of sludge at
                  the bottom of the separator remains constant because “[t]he oil is
                  skimmed off the top, and the sludge is scraped off the bottom.” Kittrell
                  Declaration ¶ 13.f. However, as discussed above the separators at the
                  Baytown refinery lacked the requisite skimming equipment prior to the
                  waste processing improvements in the mid-1950s that ensured the oil was
                  regularly skimmed off the top and the sludge regularly scraped off the
                  bottom. It follows then that during the period of time prior to the
                  installation of continuous skimming and dredging equipment the
                  pressure head in, for example, Separators 10 and 2 would have varied
                  over time as sludge accumulated in the separator before it was removed.
                  As described in the Closure Plan for Spill Basin 1, Separators 3A and 3M, and
                  the South Landfarm, Separator 3M was used for the temporary storage and
                  thickening of solids generated by the oil/water separators. Separated
                  water (i.e., supernatant) was continuously removed from Separator 3M




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                            but settled solids were only periodically removed.6 Based on the
                            described use of Separator 3M, it is expected that during times of greater
                            sludge generation rates, such as during the wartime period, Separator 3M
                            would receive and store greater amounts of sludge. Coupled with the
                            greater sludge generation rates and the resulting greater buildup of
                            sludge in the separators during the wartime period, the depth of water in
                            the separators was not constant, and therefore, the hydrostatic pressure
                            was not constant throughout the separator’s operational life. Given the
                            preceding findings, Separators 10, 3M, and 2 did not operate with an
                            approximately constant pressure head throughout their operational
                            lifetimes as described by and relied upon by Dr. Kittrell in support of his
                            position. Kittrell Declaration ¶ 13.f.

                       ii. Second, Dr. Kittrell’s application of Darcy’s Law fails to take into account
                           that the greater amounts of sludge and the greater amounts of oil and
                           other contaminants in both the sludge and the water column during the
                           wartime period would have resulted in higher rates of contaminant
                           contribution to the surrounding soils and ground water than during the
                           post-waste processing improvements period. As discussed above, the
                           installation of the pre-separators and numerous other process and waste
                           processing improvements reduced the oil in the wastewaters by at least
                           90%, and therefore, the sludge settling in the separator, and the
                           wastewater in the separator contained at least 90% less oil. Thus, as
                           compared to the wartime period, by the mid- to late 1950s and
                           subsequently, there was at least 90% less oily contaminants in the
                           wastewater and sludge that was being released from the separator
                           through cracks in the sidewalls and the bottom of the separator into the
                           surrounding soils and ground water.

                       iii. Third, Dr. Kittrell’s application of Darcy’s Law fails to take into account
                            the refinery’s overall 70% reduction in separator sludge generation by
                            approximately 1957 as a result of the process and waste processing
                            efficiency improvements. When trying to estimate contamination caused
                            by a release from an oil/water separator, it is important to understand
                            the type and characteristics of the wastes managed by the separator and
                            how those wastes varied over time. Higher concentrations of hazardous
                            constituents (both petroleum hydrocarbons and heavy metals) are present
                            in the waste materials (i.e., sludge and free-phase and emulsified oils)
                            managed in the bottom of the separators compared to the water overlying
                            the sludge layer. As such, releases from a separator when more waste
                            materials are present in a separator (e.g., during periods of greater sludge
                            generation and buildup) would result in more significant environmental
                            contamination (as compared to periods of lesser sludge generation)
                            because


6   Exxon Company, U.S.A., et. al. Closure Plans for Spill Basin 1, Separators 3A and 3M, and the South Landfarm at
    the Baytown Refinery, Baytown, Texas. January 20, 1985. [BAYTECH-00095523]


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                      •   there is more sludge and free-phase and emulsified oils to be released
                          from the separator;
                      •   there is a greater amount of diffusion of hazardous constituents from
                          the sludge and free-phase and emulsified oils into the soil
                          surrounding the separators;
                      •   there is a greater mass of hazardous constituents that can diffuse from
                          the waste materials into the water phase that may be released from
                          the separator so the water released from a separator would contain
                          higher concentrations of hazardous constituents; and
                      •   the wastewaters that are conveyed from the separator to downstream
                          waste units, such as the Outfall Canals, contain more residual sludge,
                          oil and oil-related contamination that cause additional soil and
                          ground water contamination at downstream waste unit areas (e.g.,
                          WMA-1 or Waste Management Area-1 is a significant area of ground
                          water contamination that encompasses both the old separators area
                          and the downstream Outfall Canals area).

              In sum, Dr. Kittrell’s application of Darcy’s Law was inappropriate because
              Darcy’s Law lacks a contaminant contribution component, and even if Darcy’s
              Law was a valid approach, Dr. Kittrell application of Darcy’s Law is riddled with
              erroneous assumptions and a failure to properly account for the greater amounts
              of sludge in the separators and the greater amounts of oil contamination in the
              sludge and wastewater during the wartime period, and the effect of post-
              wartime process and waste processing improvements, on contaminant
              contribution at the Baytown Site.

       7.      In Paragraphs 14 and 15 of Mr. Low’s declaration, he acknowledges that the use
of the refinery’s annual crude throughput capacities coupled with “adjustment multipliers”
“can be an acceptable [allocation] methodology”, Low Declaration ¶ 15, but then opines that
ExxonMobil’s particular use of this methodology does not meet his criterion. However, as an
environmental remediation expert familiar with how historical refinery operations cause or
contribute to contamination, I disagree with this claim. From a technical perspective, the use of
crude oil throughput as adjusted by waste processing efficiencies for determining annual waste
or contaminant contributions is more accurate and preferable than a simple years-of-operation
approach employed by Mr. Low in his proposed allocation methodology; I believe that a
production-oriented approach would more accurately represent the environmental conditions
of the refinery than merely a constant approach suggested by a straight-line “time-oriented”
approach. In fact, in my Rebuttal Report I commented as follows:

                      “[a]nnual crude oil throughput at the Baytown refinery,
                      adjusted for the impacts for processing efficiencies, is a
                      more appropriate basis for determining the waste
                      contribution to the refinery’s separators and outfall canals
                      as well as for estimating the resultant contribution to
                      contamination of soils and ground water at the Baytown
                      refinery from these units than simply assuming the waste
                      and environmental contamination contributions are equal


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                         for each operating year during the period in question.
                         Rebuttal Report at p. 3.

            a. As I have noted in my Rebuttal Report, the historical empirical data established
               that the amount of waste (i.e., sludge) generated at a refinery wastewater
               treatment unit can easily be expressed as a function of crude oil processed
               coupled      with     the     implementation       of     waste      processing
               improvements/efficiencies. As the amount of crude oil throughput processed by
               the refinery varies over the years of a refinery’s operation, it serves as a
               proportional proxy for waste generation because refinery operations have been
               relatively homogenous as they relate to the distillation of crude oil for the
               manufacture of various petroleum products.

            b. However, over time, and particularly shortly after World War II the refinery
               implemented a number of process efficiency improvements that either reduced
               the amount of waste generated by the refinery production operations or
               improved the efficacy of the waste processing units. In fact, during the 1950s
               Sidney O. Brady - a long-time Humble Oil chemical engineer - documented a
               number of post-war process improvements that were undertaken at the Baytown
               refinery, such as, for example, (1) segregating sanitary sewers to reduce oil-water
               emulsions and oil coated solids managed by the separators; (2) modernizing the
               main oil/water separator; (3) eliminating once-through salt water for cooling,
               which reduced the efficiency of the separators and generated more emulsions
               and solids during the separation process; and (4) installing the three pre-
               separators. Sidney O. Brady also compiled historical data regarding the waste
               reductions resulting from these improvements, such as, the 70% reduction in
               separator sludge generation between 1947 and 1957 and the removal of 90% of
               the oil content in the wastewaters by the pre-separators. And other historical
               data further confirmed the validity of these data points. In implementing a
               number of waste processing and process efficiency improvements, particularly
               shortly after the wartime period, this resulted in reducing both the sludge and
               the oil content of the wastewater, and less contaminant contribution to the
               surrounding soils and ground water. Rebuttal Rpt. at pp. 3-7.

            c. In fact, the United States Environmental Protection Agency (“EPA”) has itself
               recognized the relationship between waste quantities generated and crude
               capacity. EPA determined that there is a direct correlation between a refinery’s
               crude oil throughput capacity and the amount of wastes generated by the
               refinery’s operations. Thus, EPA concluded that the greater the crude oil
               capacity, the greater the amount of waste processed.7

      8.     In Paragraph 14 of his declaration, Dr. Kittrell inaccurately concludes that the
ground water contaminant plume impacting the Tankfarm 3000 Area (formerly the Baytown
Ordnance Works (“BOW”)) at the Baytown Site was contaminated only by post-war sources.

7       U.S. Environmental Protection Agency. Development Document for Effluent Limitations Guidelines and
New Source Performance Standards for the Petroleum Refining Point Source Category (Washington: GPO, 1974) at
60-68 [MISC-00016203 to MISC-00016581 at MISC-00016276 to MISC-00016284].


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Kittrell Declaration ¶ 14. His conclusion is unsupported by the assessment activities and
studies performed at the Baytown Site.

            a. First, the initial assessment activities conducted in the BOW area were performed
               only to assess whether there was a significant, current source of the
               contamination; in fact, according to the assessment report the Tankfarm 3000
               Hydrocarbon Source Investigation was conducted to “locate any on-going source
               of hydrocarbon release in the area of Tank Farm 3000[.]”8 The assessment
               concluded that, while there were four potential then-current sources, these
               sources were not significant contributors to the light non-aqueous phase liquids
               (“LNAPL”) contaminant plume impacting the ground water in this area of the
               Complex. Instead, the source of this ground water contamination was primarily
               historic in nature.

            b. Second, the LNAPL contaminant plume in the former BOW area is present in a
               well-sorted, poorly graded, silty sand with low hydraulic conductivity - meaning
               that the potential migration of the LNAPL and associated dissolved phase plume
               is limited. The historical LNAPL thickness data for the monitor wells in the Tank
               Farm 3000 area has fluctuated over time, but the extent of the LNAPL plume has
               not extended beyond its historical maximum lateral extent. Therefore, LNAPL
               released in this area throughout the operational life of the Baytown Complex has
               not migrated substantially. Thus, the source of this ground water contaminant
               plume would indeed be historic in nature.

            c. Third, the constituents in the ground water in the BOW/Tankfarm 3000 area are
               constituents that were common to the feedstocks or finished materials previously
               used and/or handled at the BOW. The plume constituents associated with the
               operations of the BOW during the period of federal involvement included
               naphtha, toluene, xylenes, kerosene, and reformate, as detailed below.

                      i. Naphtha. Both virgin and CAT naphtha were key components in the
                         manufacture of toluene at the BOW during the wartime period. The
                         Commanding Officer of the BOW reported that, as of 1944, finished
                         toluene was processed from the following feedstocks: (1) virgin naphthas
                         resulting from the processing of 185,000 barrels per day (“B/D”) of crude
                         oil at Humble’s Baytown refinery; (2) 1,400 B/D of Humble CAT naphtha;
                         and (3) a limited amount of naphtha, toluene concentrate or toluene
                         raffinate from other refineries.9 Dr. Kittrell’s assertion that these
                         materials were “not associated with the BOW operation near Tank 3000”,
                         Kittrell Declaration ¶ 14.d., is thus contradicted by contemporaneous
                         documents, and the presence of virgin and CAT naphtha in the ground




8 Agreed Order (Docket No. 95-1078-IH W-E; July 26, 1995) [BAYTECH-00014442 to BAYTECH-00014451 at

BAYTECH-00014447].
9 History of the Baytown Ordnance Works, Supplemental Information, Vols. 1-A thru V-A, Basic History through

December 31, 1943, p. 14 [BAYHIS-00017875].


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                         water in the former BOW area10 thus supports the other evidence that this
                         area was contaminated during the wartime period.

                     ii. Xylenes. Xylenes were always a byproduct of toluene production at the
                         BOW. During the latter half of the war, xylene demand increased and
                         Humble also processed xylene at the BOW for sale to the Ordnance
                         Department.11 Thus, the presence of the xylenes in the plume in the
                         former BOW supports the other evidence that this area was contaminated
                         during the wartime period.

                    iii. Reformate. Reformate, which was also present in the plume, was a
                         product of the BOW hydro-former unit. The hydro-former unit stabilized
                         and produced reformate containing toluol, which was later extracted
                         through further processing.12 The presence of reformate thus also
                         supports the other evidence that the BOW area was contaminated during
                         the wartime period.

                    iv. Kerosene. The BOW’s Sulphur Dioxide Extraction Plant used 35,000
                        barrels of kerosene wash oil per stream day.13 The presence of kerosene
                        (in five of the twelve 1992 well samples and in concentrations from 2 to
                        100%) thus further supports the other evidence that the BOW area was
                        contaminated during the wartime period.14

                     v. Toluene. Finally, toluene - the substance the BOW was designed and
                        constructed to produce as its main product - was present in eleven of the
                        twelve 1992 well samples.15

            d. Additionally, Dr. Kittrell asserts that the PCB-contamination in the Tankfarm
               3000 area was deposited after the wartime period. Currently, however, there are
               no on-going ground water PCB remediation activities at the ExxonMobil
               Baytown Chemical Plant, and therefore, any PCB contamination is not relevant
               to the issue of the source of the ground water contamination that the company is
               incurring substantial costs to address.




10 M.C. Bulawa, Characterization of Hydrocarbon Samples Recovered From Underground Wells, November 28, 1994
[BAYTECH-00045802 to BAYTECH-00045812 at BAYTECH-00045807].
11 History of Baytown Ordnance Works [BAYHIS-00017747 to 17749]. See also History of Baytown Ordnance Works,

Supplemental Information, Vols. 1-A thru V-A, [BAYHIS-00017870].
12 M.W. Kellogg, Contract for Construction of a Hydroformer Plant, 1940 pp. 2-3 [BAYHIS-0007604 to 7605].
13 Major, John T. Morgan, Area Engineer, Completion Report on Construction of BOW, p. 2 [BAYHIS-00016990].
14 ERM. Tank Farm 3000 LNAPL Analyses (Jan. 14, 2002) [BAYTECH-00045791 to BAYTECH-00045821 at BAYTECH-

00045797].
15 ERM. Tank Farm 3000 LNAPL Analyses (Jan. 14, 2002) [BAYTECH-00045791 to BAYTECH-00045821 at
BAYTECH-00045807].


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       9.     I declare that the foregoing is true and correct under penalty of perjury of the
laws of the United States. Executed on January 21, 2014.



                                           ______________________________
                                           Peter J. Gagnon




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                          Attachment 1
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  Peter J. Gagnon, P.E., BCEE
  Senior Partner




  Mr. Gagnon has over 18 years experience in                    Registration and Certification
  environmental engineering including site assessment            Licensed Professional Engineer in the States of Texas
  and remediation, stormwater and wastewater discharge             and Montana
  permitting and air emission calculations. His design
                                                                   Board Certified Environmental Engineer in
  projects have included ground water recovery and
                                                                    Hazardous Waste Management by the American
  treatment systems, excavation of affected soils, capping,
                                                                    Academy of Environmental Engineers
  stormwater management and industrial wastewater
  treatment. He has directed numerous subsurface                   Licensed Leaking Petroleum Storage Tank
  investigations at various industrial sites using CPT-             Corrective Action Project Manager in the State of
  ROST, direct-push, hollow-stem auger, air and mud                 Texas
  rotary drilling. Mr. Gagnon’s air experience has
  included regulatory applicability and compliance              Fields of Competence
  assessments and permit applications. He has also               Program and project management
  completed state and federal stormwater and industrial            Civil and environmental engineering
  wastewater permit applications, risk assessments and
                                                                   Site investigation and remediation
  response action plans for industrial sites along the U.S.
  Gulf Coast.                                                      RCRA
                                                                   Site Remediation MACT
  Publications                                                     Risk assessment (human heath and ecological)
  Ostendorf, D.W., DeGroot, D.J., Pollock, S.J., and
                                                                   CERCLA
  Gagnon, P.J. 1995. Aerobic Acetate Degradation near the
  Capillary Fringe of Roadside Soil: Field Simulations             Multi-media permitting and regulatory compliance
  from Soil Microcosms. Journal of Environmental                    assessments
  Quality, 24:334-342.
                                                                Education
  Holmes, L., Rinas, R., Goyette, H., and Gagnon, P.             Master of Science, Environmental Engineering,
  September 18, 2006. Site Remediation MACT –                      University of Massachusetts at Amherst (1994)
  Compliance Strategies for a Cross-Media MACT. 2006               Bachelor of Civil Engineering, Villanova University
  NPRA Environmental Conference.                                    (1992)

                                                                Professional Affiliations
                                                                 American Academy of Environmental Engineers




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Key Projects
 Partner-in-Charge for assessment, monitoring, and                    Partner-in-Charge for preparation of a successful
   remediation activities at two major Texas Gulf Coast                 EPA Region 6 petition to delist the leachate
   integrated refinery / chemical plant complexes and                   generated by an active land treatment unit (an F039
   a refinery in Montana. Ground water monitoring                       hazardous waste) at a major petroleum refinery in
   activities were conducted to maintain compliance                     Texas.
   with requirements of the negotiated enforcement                     Managed a RCRA corrective action program at a
   orders and RCRA. Assessment activities were                          litigiously sensitive former wood treating facility in
   conducted in the context of a prioritized RCRA                       a low income residential area of Houston, Texas.
   Facility Investigation as well as to address newly                   Directed activities necessary to maintain compliance
   discovered releases. Remediation activities included                 with the site’s RCRA Permit and Compliance Plan.
   ground water remediation systems, monitored                          Provided leadership to technical teams for the
   natural attenuation programs, excavation, and soil                   investigation of DNAPL in a highly complex
   covers as required by negotiated enforcement orders                  hydrogeologic setting, assessment of risk and the
   and RCRA. Remediation activities complied with                       evaluation of potential remedial alternatives in
   Site Remediation MACT, as applicable.                                accordance with RCRA and TRRP.
       Prepared technical justifications and RCRA Permit              Designed and implemented the corrective measures
        modifications utilizing EPA’s Contained-in-Policy and           for a Site-wide Remedy at a chemical plant near
        site-specific data for the risk-based clean closures of         Mobile, Alabama including source removal
        permitted hazardous waste management units at                   (excavation) and source reduction (in situ chemical
        refineries in Montana and Texas. In both cases the              oxidation) which allowed the termination of a
        agency-approved approach eliminated the need for                ground water pump-and-treat system that had
        post-closure care. Ultimately one client redeveloped            operated at the plant for over 20 years.
        a former landfarm to accommodate part of a new                 Directed and managed numerous site assessments
        process unit while the other client realized over $8            that utilized a variety of techniques to delineate the
        million in cost savings by eliminating the need for             extent of affected environmental media at multiple
        an engineered closure and long-term monitoring of a             locations throughout the U.S. Gulf Coast region
        surface impoundment.                                            including sites impacted with pesticides, herbicides,
       Partner-in-Charge for a project involving on-going              metals, solvents, and various petroleum
        compliance of a permitted hazardous waste                       hydrocarbons (including LNAPLs and DNAPLs).
        landfarm at a major petroleum refinery in Texas.               Directed the completion of risk assessments to
        Prepared RCRA permit modifications and provided                 evaluate the potential risks associated with the
        ongoing consulting regarding Permit requirements.               exposure of human and environmental receptors to
       Partner-in-Charge for preparation of a RCRA permit              affected media under various exposure scenarios for
        renewal application for a major petroleum refinery              industrial sites along the U.S. Gulf Coast.
        in Texas. The permit application included five units           Completed Response Action Plans/Corrective
        in Detection Monitoring, one unit in corrective                 Measures Studies under various regulatory
        action, and over 90 other waste management units.               programs to evaluate remediation technologies to
       Served as design engineer for the implementation of             achieve response action objectives.
        the various remedial elements in the EPA-approved              Conducted recoverability assessments for NAPL
        ROD for the Tex Tin Superfund Site in Texas City,               plumes at two Texas Gulf Coast refineries using site-
        Texas. Design responsibilities included preparation             specific data and the models included in API
        of text, design drawings and engineering analyses               Publications. Residual NAPL saturation, volumes of
        for the Remedial Action Work Plans and                          readily recoverable NAPL, and temporal variation of
        Construction Quality Assurance Plans for the                    NAPL recovery rates were estimated while also
        various Work Packages included in the phased                    assessing the fate and transport of the associated
        design/build approach used at the site.                         dissolved phase plumes.



09/12                                                                                                                   GAGNON
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       Served as Lead Assessor for an audit team reviewing           Directed numerous subsurface investigations at
        all aspects of a Texas refinery/petrochemical                  LPST sites in the Houston, Texas area in compliance
        complex’s compliance with Site Remediation MACT.               with State requirements and was responsible for
        The audit included recommended solutions                       preparing the reports for submittal to the client and
        designed to maintain long-term compliance.                     the state regulatory agency.
       Completed Site Remediation MACT applicability                 Directed the completion of risk assessments to
        determinations for seven refineries (located in Texas,         evaluate the potential risks associated with the
        California, and St. Croix) and two chemical plants             exposure of human and environmental receptors to
        (located in Texas and Arkansas). As part of these              affected media under various scenarios for industrial
        determinations, assessed various remediation                   and gasoline retail sites in Texas.
        system components and activities subject to                   Directed and oversaw the removal of 11 UST
        emission controls and provided methods of                      systems at gasoline retail facilities in the Houston,
        achieving compliance including modifying existing              Texas area.
        facility procedures, developing Site Remediation
                                                                      Designed ground water and LNAPL recovery
        MACT-compliant Sampling and Analysis Plans, and
                                                                       systems utilizing pneumatic and electrical pumps
        Soil Management Plans.
                                                                       for facilities Midland, Houston, Baytown, and
       Developed a spreadsheet-based tool for use by a                Conroe, Texas. Additionally, constructed ground
        major energy corporation to assess the applicability           water recovery and treatment systems at locations in
        of Site Remediation MACT at its 16 U.S. refineries.            Ft. Worth and Dawson, and Houston, Texas.
        Subsequently conducted an internet-based training
                                                                      Prepared design drawings and construction
        session for corporate and facility personnel to
                                                                       specifications to cover petroleum hydrocarbon
        demonstrate the use of the tool and the MACT
                                                                       affected soils from a former surface impoundment
        requirements. Completed applicability assessments
                                                                       with a 3-acre reinforced concrete parking lot.
        and assisted in developing and documenting
        compliance strategies at four of the client’s Texas           Developed design drawings and specifications and
        refineries.                                                    oversaw the excavation of over 9,000 cubic yards of
                                                                       affected soil at a former pesticide blending facility
       Trained over 100 employees over a three-day period
                                                                       near Waco, Texas.
        at a refinery in the U.S. Virgin Islands on the
        implementation of new or updated procedures                   Managed preparation of an Activity
        designed to maintain the refinery’s compliance with            Characterization Report required to approve the
        Site Remediation MACT.                                         operation of a floating production, storage, and off-
                                                                       loading type unit for the production of oil and gas
       Managed remedial and investigative activities at
                                                                       from up to seven wells off the coast of Brazil.
        multiple gasoline retail facilities in Houston and
        Austin, Texas. Responsibilities included client and
        agency interaction and coordination of day-to-day
        activities.
       Directed routine ground water monitoring activities
        for a portfolio of LPST sites in Houston and Austin.
        Tasks included coordinating sampling activities,
        verifying field and laboratory analytical data,
        inferring data trends, constructing potentiometric
        surface maps, and isoconcentration maps and
        completing required reports.




09/12                                                                                                                   GAGNON
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                                        ExxonMobil Corporation vs.
                                        United States of America:
                                        Rebuttal Report of Peter J. Gagnon

                                        December 20, 2012



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                      ExxonMobil Corporation vs.
                      United States of America:
                      Rebuttal Report of
                      Peter J. Gagnon
                      December 20, 2012

                      Project No. 0147586




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APPENDICES


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1.0        INTRODUCTION

           I was retained by Baker Botts, LLP on behalf of ExxonMobil to serve as an expert
           rebuttal witness in the actions identified below.

           This report rebuts portions of the reports prepared by James R. Kittrell, Ph.D.,
           entitled, “Expert Report: Historical Operations of Exxon’s Baytown and Baton
           Rouge Refineries with Implications Regarding Contributions to Site
           Contamination,” dated August 10, 2012 and “Rebuttal Report: Rebuttal to the
           Reports of Mr. J.M. Johnson, Mr. A.J. Gravel and Mr. R.L. White,” dated
           November 16, 2012. This report also presents rebuttal points relating to the
           opinions of Matthew A. Low in his reports entitled “Expert Report on Allocation
           with Respect to Exxon’s Baytown and Baton Rouge Refinery and Chemical
           Complexes,” dated August 10, 2012 and “Expert Rebuttal Report on Allocation
           with Respect to Exxon’s Baytown and Baton Rouge Refinery and Chemical
           Complexes,” dated November 16, 2012.

           The information and rebuttal opinions presented in this report are based on
           information available to me and analysis conducted as of December 20, 2012. I
           reserve the right to supplement this report as needed. A list of the documents
           relied on in forming my rebuttal opinions is included in Appendix A.

           This report is submitted for the following matters, ExxonMobil Corporation v.
           United States of America S.D. Tex. H-10-2386 and H-11-1814; and ExxonMobil
           Corporation v. United States of America Ct. Fed. Cl. 09-165-C and 09-882-C.




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2.0        QUALIFICATIONS

           I am a Senior Partner with Environmental Resources Management (ERM), a
           leading global provider of environmental, health, safety, risk, social consulting,
           and sustainability services. I graduated from Villanova University in Villanova,
           Pennsylvania with a Bachelor of Civil Engineering in 1992 and obtained a Master
           of Science in Environmental Engineering from the University of Massachusetts
           in Amherst, Massachusetts in 1994.

           I have over 18 years of professional experience as an environmental consultant
           with ERM, primarily in the area of site assessment and remediation at industrial
           sites (including refineries, chemical plants, etc.) for private sector clients. Most of
           the sites at which I have worked are located in the States of Texas, Louisiana,
           Alabama, and Montana.

           I am a licensed Professional Environmental Engineer in the states of Texas and
           Montana. In addition, I am a Board Certified Environmental Engineer by the
           American Academy of Environmental Engineers in the specialty area of
           Hazardous Waste Management. I have been working on various environmental
           assessment, remediation, and compliance projects at the ExxonMobil Baytown
           Complex since approximately 2003. Initially working as a Senior Project
           Engineer and Senior Project Manager for these projects, I became Partner-in-
           Charge for all of ERM projects at the Baytown Complex in 2007. As Partner-in-
           Charge, I am responsible for directing a team of engineers and scientists during
           assessment, monitoring, and remediation activities at the ExxonMobil Baytown
           complex to maintain compliance with requirements of the negotiated
           enforcement orders, permits, and state and federal regulations. A copy of my
           resume is included in Appendix B.

           ERM was compensated at a rate of $218 per hour for my time in conducting
           research and analysis as well as for preparing this report.




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3.0        REBUTTAL OF DR. J. KITTRELL

           Rebuttal Opinion 1:         Annual crude oil throughput at the Baytown refinery,
                                       adjusted for the impacts for processing efficiencies, is a
                                       more appropriate basis for determining the waste
                                       contribution to the refinery’s separators and outfall
                                       canals as well as for estimating the resultant
                                       contribution to contamination of soils and ground water
                                       at the Baytown refinery from these units than simply
                                       assuming the waste and environmental contamination
                                       contributions are equal for each operating year during
                                       the period in question.

           Dr. Kittrell contends that the separators and outfall canals (the units) at the
           Baytown refinery were "pass-through units" because accumulated sludges were
           periodically removed from the units and therefore only a portion of the sludge is
           available to contaminate the soils underlying the units since “The extent of soil
           contamination will be dependent principally on the time duration that the waste
           remains in contact with the soil …”. Therefore, the amount of contaminated soil
           beneath the units are not proportional to the amount of crude oil processed in
           the refinery over the years, but rather the duration of exposure, or the period of
           operation of the unit where each year is treated equally (Kittrell pp. 39-40). It
           should be noted that Dr. Kittrell does not appear to actually review and consider
           the specific historical or technical reports for Separators 3M and 10, as his
           opinion is based on the conceptual operation of separators.

           As documented by Perkins1 the amount of waste (i.e., sludge) generated at a
           refinery wastewater treatment unit can easily be expressed as a function of crude
           oil processed coupled with the implementation of waste processing
           improvements/efficiencies. Brady2 describes some of these process
           improvements at the Baytown refinery including
           •     segregating sanitary sewers to reduce oil-water emulsions and oil coated
                 solids managed by the separators in 1949;
           •     modernizing the main oil/water separator in 1950;
           •     eliminating salt water for cooling, which acted to stabilize emulsions and
                 prevent gravity separation of both oil and sediment in the separator (c. 1950);
                 and
           •     installing a trunk sewer to transfer drainage from the west side of the
                 refinery to the oil/water separator, in lieu of discharging to Mitchell Bay via
                 the earthen separator which operated prior to 1950. (Note: the area of this
                 earthen separator is currently referred to as Solid Waste Management
                 Unit 69.)

           1
               Perkins, Jody. An Historical Overview of Solid Waste Management in the Petroleum
                 Industry: Discussion Paper # 062. October 1990. p. 12. [MISC-00010303]
           2
               Brady, S.O. Effluent improvement Program at Humble’s Baytown Refinery. Proceedings of
                 the Ninth Industrial Waste Conference. May 1954. pp. 98 – 106. [BAYC-00013617]

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           In this way the waste generated during the refining process, managed by land-
           based surface impoundments (e.g., the outfall canals) or separators, and which
           subsequently contributed to environmental contamination can be directly
           attributed to the amount of crude oil processed by the refinery (as tempered by
           upstream processes efficiencies).

           Waste generation rates at a refinery can vary over time; therefore, application of
           a standard uniform rate per unit of time does not account for this variation.
           Rather, crude oil throughput serves as a proportional proxy value for waste
           generation. In turn, crude oil throughput serves as a more legitimate measure of
           the resultant soil and ground water contamination caused by the waste
           management units.

           Further, accumulated sludges are not the only potential source of environmental
           contamination from the Baytown refinery separators and outfall canals as Dr.
           Kittrell implies in pages 39 – 40 of his report. Early surface impoundments (e.g.,
           the in-ground separators and outfall canals at the Baytown refinery) installed at
           oil refineries along the U.S. Gulf Coast were built prior to the development of
           present day standards. As a result, releases of oil, water affected with dissolved
           phase hydrocarbon constituents, and residuals (e.g., sludges, sediments,
           emulsions, and other higher density hydrocarbon-laden materials) from the
           units were introduced into the environment (i.e., soils and ground water).

           Early surface impoundments were not installed with liners or sealed walls to
           prevent leaking. Further, leak detection systems were not developed or in use
           during the early years of refinery operations. In short, early oil/water separators
           were earthen pits (potentially equipped with concrete sidewalls) with limited
           ancillary equipment. Because of their relatively simple design, maintenance
           procedures were typically limited to the mechanical elements of the separators
           and outfall canals (e.g., pumps, piping, weirs, etc.) or the removal of accumulated
           residuals from the bottom. Dr. Kittrell speculates that period storm events
           resulting in high storm water flow would remove accumulated sediments from
           the outfall canals [p. 39] but offers no quantitative analysis of the required
           scouring velocity to mobilize these materials or if said scouring velocity could
           theoretically have been achieved. No historical or scientific evidence has been
           presented to substantiate his claim.

           Maintenance procedures were not typically implemented to identify and repair
           potential cracks, fractures, voids or other features that might allow the release of
           liquids through the sidewalls or floor of the separator. In simple terms, leaks
           were expected and accepted provided the unit continued basic operation. As a
           result, once a release began it could continue unchecked as the unit continued to
           manage wastewaters laden with hazardous constituents until there was a
           catastrophic event (e.g., fire, structural failure, etc.) or until the unit was
           permanently taken out of service. Releases could continue for years or decades
           during which time various hazardous constituents would leach into the soils and
           ground water immediately proximate to the unit. Therefore, as the refinery
           processed increasing amounts of crude oil (without improving upstream waste
           processes) more oils, emulsions, and sludges entered the units and subsequently


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           were released to surrounding soils and ground water. Furthermore, over time,
                                                                            3
           ground water affected by such releases could flow downgradient via gravity to
           nearby surface water bodies threatening ecological receptors though impacts to
           sediments and surface water. However, as upstream waste processes improved,
           so did the quality of the wastewaters managed resulting in lower contributions
           of contaminant mass to the environment.

           Releases to the environment can occur from an in-ground oil/water separator or
           any downstream surface impoundment managing similar materials (e.g., the
           Outfall Canals at the Baytown Refinery) in any direction. By design, during
           routine operations oil floats atop the water within an oil/water separator.
           However, emulsified oils are typically present throughout the entire water
           column within the unit (or in downstream units). The free-phase and emulsified
           oil and dissolved-phase constituents can migrate through cracks, voids, pore
           spaces, or microfractures within the walls of the unit into the surrounding native
           strata via advective and dispersion/diffusion transport.

           Liquids (either water or oils) leaking through the sidewalls and/or floor of the
           unit enter the soil and are transported laterally away from the unit due to the
           hydrostatic pressures exerted by the liquids remaining in the unit. This pressure
           overcomes the entry pressure present within the soil pores and can continue
           pushing the liquids outwards in all directions (i.e., 360 degrees centered about
           the separator in the horizontal plane and 180 degrees in the vertical plane). In
           hydrogeologic terms the leaking unit acts as a ground water mound. In
           addition, the liquids will travel vertically downward under the force of gravity.
           This movement of liquids advectively transports contaminant mass away from
           the separator and into the native soils toward ground water. In addition, due to
           concentration gradients, constituents will also move via dispersion and diffusion
           from areas of higher concentration (i.e., contaminated locations) to those of lower
           concentration (i.e., uncontaminated locations) in the surrounding soil and
           ground water matrix.

           In addition, residuals accumulate in the floor of operational oil water separators
           during normal operating conditions. These more viscous fluids can also leak
           through cracks or microfactures into the native strata surrounding the separator.
           The hydrostatic pressure induced by the water column atop the accumulated
           solids will act as a driving force overcoming the pore space entry pressures as
           described above. In units managing a higher percentage of solids versus liquids
           (e.g., sludge pits) the same release mechanisms apply. Hazardous constituents
           will leach from the solid and semi-solid materials within the unit to the
           surrounding native soils.

           Thus, contamination arises not only from the sludges themselves but also from
           the impact of these pressures on the adjacent soils. These soils would be
           required to be remediated under RCRA procedures. Because of the multiple


           3
               ERM. Unit-Specific Hydrogeology and Ground Water Monitoring Systems – Waste
                 Management Area-1 (WMA-1). ExxonMobil Baytown Refinery, Baytown, Texas.
                 April 14, 2010. pp. 1 – 17. [BAYC-0089421-89494]

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           potential release point (i.e., sidewalls and floor) and because the volumetric flow
           rate managed by the Baytown refinery’s oil/water separator and outfall canals
           are directly related to the facility’s operations, crude oil throughput is a
           reasonable and appropriate basis for estimating the contaminant mass released
           into the environment over time. In the absence of mechanisms limiting the
           source and impact of contamination, one would expect that periods of high
           throughput would contribute more contaminant mass to the environment
           resulting from the processes described above. Consequently, an allocation of
           contamination on a pure time of operation basis would clearly fail to account for
           the variability in contamination that was caused by both the variation in effluent
           load and the efficiency of pollution control equipment that existed from one year
           to the next.

           An additional contributing factor to the spread of contamination from an in-
           ground surface impoundment is the amount of oil and sludge entering and
           accumulating in the unit. A unit that manages greater volumes of emulsified or
           separate phase oil and/or sludge would have a proportionally greater resultant
           contamination. As mentioned above, the hydrostatic pressures within the
           separator will force liquids through the sidewalls and floor. If these liquids
           contain oils or hazardous constituents, they will likewise be released from the
           unit. If, however, proactive management techniques reduce the amount of
           wastes managed by the unit, the amount of new releases contributing to
           environmental contamination would decrease. As documented by the Humble
                                          4
           Oil Refinery Loss Committee numerous projects were implemented in the early
           1950s to reduce wastes including (but not limited to):
           •   segregating sanitary wastes and constructing a separate treatment plant;
           •   constructing the effluent filtration unit;
           •   eliminating use of salt water for cooling;
           •   installing continuous skimming and dredging equipment in Separator 10;
           •   replacing Separator 1 with a preseparation flume; and
           •   installing a sewer to eliminate Separator 2 (a.k.a. SWMU 69).

           Although detailed environmental forensics were not conducted at the time of
           their closures, the closure and clean-up of separators 3M and 10 included the
           removal of not only accumulated residuals but also the excavation of tons of
           contaminated soils. In addition, due to releases from these units to ground water
           ExxonMobil continues to operate a ground water corrective action system to
           contain, remove, and treat contaminated ground water in Waste Management
           Area-1 (which includes, among other units, former Separator 3M) and in the
           Dock Area around the location of the former Separator 2/Slush Pit.
           The American Petroleum Institute (API) has documented that source reduction
           techniques dramatically reduced the amount of separator sludge generated (per
           barrel of crude oil) at the Baytown refinery from the 1940s to the 1960s [Perkins,


           4 Humble Oil & Refining Company – Refinery Loss Committee.       Minute of the 22nd
               General Meeting. March 31 – April 4, 1952. pp. S-8-2 – S-8-21. [MIS-00031630]

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           1990]. It follows then, that the resultant contamination from former separators
           3M and 10 would be greater during the World War II time period since the units
           were managing greater amounts of free oil, emulsified oil, and hydrocarbon-
           affected liquids, solids, and sludges. In turn, there was more material that
           would be released to the environment, contaminating the surrounding soils and
           contributing to the resultant ground water contamination still present at the site.

           Additional Rebuttal Points – Dr. J. Kittrell
           1. In his November 16, 2011 report Dr. Kittrell argues against the use of the
              waste processing efficiency improvement factors employed by allocator Mr.
              Richard White in his proposed allocation (Kittrell pp. 29 - 42)

           Dr. Kittrell mischaracterizes a statement made by Mr. White in his initial report
           when Dr. Kittrell sates on page 32 of his rebuttal report that “Mr. White assumes
           that the addition of pre-separator to the Baytown Refinery collectively reduced
           separator waste production (settled solids) by 90% …” In referring to a 1964
           Humble Oil engineering report Mr. White actually states that the installation of
           three pre-separators upstream of Separator 10 resulted in a 90% reduction in the
           oil content entering Separator 10 (White, p. 40). By mischaracterizing Mr.
           White’s statement, Dr. Kittrell narrowly focuses on sediments as the only
           potential release mechanism from the separators and dismisses the potential
           release of liquids from the separators sidewalls.

           As described in my Opinion 1 herein, Dr. Kittrell expresses a far narrower view
           of pollution effects from the separators by suggesting that the only potential
           source of environmental contamination is settled solids accumulated in the base
           of the unit. Environmental contamination caused by releases from separators
           such as Separator 10 are not solely associated with settled solids. Rather,
           releases of hydrocarbon-affected liquids within the separator through the unit’s
           side walls can represent a significant source of contamination. Dr. Kittrell elects
           to ignore this release mechanism and its resultant contamination stating that
           even if oil were removed by the pre-separators, this “…has no effect on soil
           contamination.” (Kittrell, p. 37). On page 34 of his report, Dr. Kittrell also states
           that “… the contamination of the soil beneath the separator arises from the
           sludge accumulating on the bottom of the (in this case un-lined) separator.” It is
           not clear why Dr. Kittrell does not consider free phase oil and/or hydrocarbon-
           affected water as a potential source or releases through the unit’s sidewalls as a
           viable contaminant transport pathway.

           Dr. Kittrell does acknowledge, that some oil and sludge may be retained in
           separator effluent and transferred to subsequent downstream wastewater
           management units (e.g., the Baytown Refinery outfall canals) thereby serving as
           a source of contamination to these units.

           A reduction of oil entering Separator 10 would result in the removal of potential
           source mass (both free phase and dissolved phase hydrocarbons) that could
           release from the unit and contaminate the soil and ground water surrounding
           and beneath the unit. Furthermore, it would result in a reduction of the oil and
           sludge exiting the unit and entering the Outfall Canals. Therefore, use of a


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           reduction factor for estimating environmental contamination resulting from unit
           operations subsequent to process efficiency improvements is appropriate. The
           reduction factor utilized by White comes from an engineering report prepared
           shortly after installation of waste reduction measures.




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4.0        REBUTTAL OF MR. M. LOW

           Rebuttal Opinion 2:         Leaks and spills from process operations served as a
                                       source of ground water contamination at the Baytown
                                       refinery, but are not the only source of these ground
                                       water plumes. Other significant sources of some of
                                       these plumes were historic waste units at or in the
                                       vicinity of currently recognized SWMUs. These waste
                                       units were only in operation for discrete time periods,
                                       and therefore crude oil throughput modified by waste
                                       processing improvements during their period of
                                       operation would be an appropriate basis to determine
                                       waste contribution. To the extent leaks, releases and
                                       spills from process operations were the source of the
                                       contamination, treating each year of refinery operations
                                       equally to determine waste contribution is also not
                                       appropriate because beginning in the late 1940s Humble
                                       Oil implemented an effluent improvement program to
                                       conserve oil and reduce waste generation.

           In his August 10, 2012 report, Mr. Low states that affected ground water plumes
           are not suspected to have been caused by a SWMU but by leaks and spills during
           routine refinery operations and that the record does not provide a basis to
           conclude that operational improvements impacted ground water (Low p 21.). I
           completely disagree with these statements.

           There are several known free-phase hydrocarbon (a.k.a. phase separated
           hydrocarbons [PSH], light non-aqueous phase liquids [LNAPL], etc.) plumes
           and associated dissolved-phase hydrocarbon plumes at the ExxonMobil
           Baytown Refinery (BTRF). Many of these plumes were discovered during
           assessment activities required by the existing 1995 Agreed Order and the RCRA
           Permit and Compliance Plan. Four Agreed Order Plume Areas have been
           identified at the refinery, three of which are located south of Bayway Drive in a
           portion of the BTRF commonly referred to as the Dock Area. The fourth plume
           area is located north of Bayway Drive in the Tankfarm area. This fourth plume
           area is proximal to, but should not be confused with the Tankfarm 3000 Plume
           which is administered under a separate Agreed Order for the Baytown
           Chemical Plant.

           Mr. Low does admit that releases to ground water may have occurred during
           wartime operations at the refinery. This is supported by a report that identified
           one of the contaminants in the refinery ground water plume to be blue-dyed
           avgas, which is consistent with the coloring of the avgas during the wartime
                   5
           period. However, as an example of how an operational improvement can
           reduce leaks that contribute to ground water contamination, the Humble Oil
           Refinery Loss Committee reported that the implementation of a program of


           5 Wavro, Steven. Past Remedial Activities Report – Exxon Baytown Refinery. August 18,

               1995. [BAYTECH-00013566]

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           cathodic protection for underground lines at the refinery (completed in 1952)
           resulted in a dramatic decrease (over 50% from 1949 to 1951) in leaks due to
                                          6
           corrosion of underground lines .

           In addition to the above-referenced LNAPL and dissolved phase plumes, similar
           plumes are present south of Bayway Drive in the area bounded by the Upper
           Outfall Canal (UOC) and the Lower Outfall Canal (LOC) in an area known as
           Waste Management Area-1 (WMA-1). Although some of the documented
           LNAPL plumes at the Baytown Refinery may be attributed with leaks and spills
           over the years of operation, Mr. Low is incorrect when stating none of the
           ground water plumes were caused by activity associated with a SWMU.
           SWMUs 59 and 69 (a.k.a. Separator 2) are located within the Dock Area and are
           co-located with Agreed Order Plume Area 3. Based on a review of aerial
           photographs and USGS topographic maps, SWMU 69 operated as a separator
           from sometime prior to 1927 to sometime between 1957 and 1962. The unit was
           apparently created by constructing a low dam across a natural drainageway
           leading to Mitchell Bay. Reportedly, the unit covered approximately 2.5 acres
           and was closed in 1977. However, aerial photographs show evidence that the
           unit was filled sometime between 1957 and 1962. The waste management
           activities did encompass a larger area than the separator proper and included a
           downstream outfall area. SWMU 59 appears to have been a sludge pit between
           approximately 1930 and 1947. A review of data from soil borings and monitor
           wells installed as part of the Agreed Order and RCRA Facility Investigation
           indicate that wastes from the operation of SWMUs 59 and 69 are still in place
           and that the wastes (along with past operations of the unit) have contributed to
           affected soils and ground water within the vicinity of the units.7

           Furthermore, prior to refinery upgrades to the sewer system, an open drainage
           ditch (a.k.a. the West Ditch) conveyed process wastewater from the western side
           of the refinery, including the BOW, to SWMU 69. This apparent earthen
           drainage ditch carried oily waters from their point of generation to Separator 2.
           Releases and or leaks of free-phase and/or dissolved phase hydrocarbons would
           have impacted soil and ground water during the ditch’s operational life,
           potentially including portions of Agreed Order Plume 4 in the refinery Tankfarm
           area. A review of available aerial photographs indicates that this ditch was filled
           in sometime around 1956.

           WMA-1 includes former Separators 3 and 12 as well as the UOC and Wastewater
           Oxidation Unit (WOU). During the operational life of the separators and UOC,
           hydrocarbon-affected liquids (either water or oils), emulsions and sludges
           leaked through the sidewalls and/or floors, entered the soil and were
           transported vertically and laterally to ground water. Thus, these wastes from the
           managed units were directly responsible for the associated ground water issues.
           RCRA Corrective Actions were implemented and continue to be conducted

           6
             Humble Oil & Refining Company – Refinery Loss Committee. Minute of the 22nd
               General Meeting. March 31 – April 4, 1952. pp. S-8-22 – S-8-40. [MIS-00031630]
           7 ERM. Assessment of Petroleum Hydrocarbon Extent, Northwest Dock Area. ExxonMobil

               Baytown Refinery, Baytown, Texas. September 13, 2011. pp. 1 – 29. [BAYTECH-
               00122598]

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           pursuant to the TCEQ-issued Compliance Plan portion of the BTRF
                         8
           RCRA Permit.

           Because of the multiple potential release pathways (i.e., sidewalls and floor) of
           the SWMUs (i.e., SWMU 59/69, Separators 3 and 12, and UOC) and because the
           volumetric flow rate managed by these units is directly related to refinery
           operations, treating each year of refinery operations equally to determine waste
           contribution (and associated releases to the environment) is not appropriate
           because beginning in the late 1940s Humble Oil implemented an effluent
           improvement program whose purposes were to conserve oil and reduce waste
           generation. Thus, the amount of impacts on ground water contamination would
           be related to the implementation of process improvements. Since these units
           operated for discrete periods of time following the wartime years, process
           improvements reduced the amount of waste managed by those still in operation.
           Additionally, leak prevention activities (e.g., the previously mentioned cathodic
           protection program for underground piping) resulted in a documented
           reduction in leaks from underground piping due to corrosion. Therefore, once
           again, use of crude oil throughput modified by the effect of waste processing
           improvements would be an appropriate way to determine the waste
           contribution from leaks, releases and spills over the period of operation, rather
           than treating each year equally. Waste contribution would not be accurately
           accounted for if only a year of operation factor was used.

           Additional Rebuttal Points – Mr. M. Low
           1. In his August 10, 2012 report Mr. Low states that: “Based on the analysis of 12
              samples by Exxon, contributions by units that were constructed after 1946 can be
              approximated to constitute as much as 33% of the plume assuming that the sample
              stations selected for analysis represent conditions in the plume and assume that the
              volume of hydrocarbons in each sample is equal.” (Low p. 23)

           Assessment activities conducted at Baytown Chemical Plant Tankfarm 3000 Area
           (formerly the Baytown Ordinance Works [BOW]) and other areas of the Baytown
           Complex were conducted to achieve the requirements of the Texas Commission
           on Environmental Quality and its predecessor agencies. Their purpose was to
           assess the nature (i.e., constituents of concern) and extent (i.e., lateral and
           vertical) of affected environmental media. Limited to no forensic analysis was
           conducted to determine the vintage of the contamination. Therefore, there is
           limited to no scientific evidence to justify the application of any percentage to
           post 1946 releases without additional, extensive environmental forensic analysis.
           Thus, any of the assumptions made in the Low report regarding this calculation
           could not be made to justify the application of his proposed percentage. Because
           there was not a single, large spill event identified as the source of the
           hydrocarbon plume, the Tankfarm 3000 Hydrocarbon Source Investigation was
           conducted to “locate any on-going source of hydrocarbon release in the area of Tank
           Farm 3000 and to abate the release.” The results of this work identified four


           8 ERM. Unit-Specific Hydrogeology and Ground Water Monitoring Systems – Waste
               Management Area-1 (WMA-1). ExxonMobil Baytown Refinery, Baytown, Texas.
               April 14, 2010. pp. 1 – 17. [BAYC-0089421-89494]

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           potential sources (one tank and three pipelines) but these sources were not
           believed to be significant contributors to the LNAPL plume, and that the source
                                                     9
           was instead primarily historic in nature.

           Furthermore, the LNAPL present in the area formerly known as the BOW is
           present in a well-sorted, poorly graded, silty sand. The low hydraulic
           conductivity of this ground water transmissive zone (~10-4 cm/sec), limits the
           potential migration of the LNAPL and associated dissolved phase plume (as
           demonstrated by the compendium of LNPAL thickness data). A review of
           historical LNAPL thickness data for the monitor wells in the Tank Farm 3000
           area indicates that although thicknesses fluctuate over time, the extent of the
           LNAPL plume has not extended beyond its historical maximum lateral extent.
           Therefore, LNAPL released in this area throughout the operational life of the
           Baytown Complex has not migrated substantially. Thus, this plume indeed
           would be of an historic nature.

           Lastly, it should be noted that the constituents of concern in ground water at the
           current Tank Farm 3000 area are constituents common to feedstocks or finished
           materials at the BOW. An analysis of the historical record appears to indicate
           that many plume constituents were directly associated with the operations of the
           BOW including naphtha, toluene, xylenes, kerosene and reformate which were
           feed stocks, products, by-products and/or wastes associated with the operation
           of the BOW during the period of Federal involvement.10 A brief discussion
           outlining the connection of the various substances with BOW operations is
           provided below:
                a. Naphtha – Virgin and CAT naphtha were key components used in the
                   manufacture of toluene. These constituents and were present in: 1) six of
                   twelve well samples analyzed in February of 1992; 2) all five well
                   samples analyzed in November of 1993; and 3) two of four well samples
                   analyzed in November of 1994. Of the twenty-one well samples
                   analyzed, fifteen wells contained virgin or CAT naphtha and of those
                   eight exhibited concentrations at or greater than 40 percent.11

           The naphtha used at the BOW was taken from various crudes coming into the
           Baytown refinery, processed and only the cut containing a high percentage of
           toluene and compounds “suitable for hydroforming” was delivered to BOW. 12 As
           of 1944, the Commanding Officer at BOW reported that finished toluene at the
           BOW were processed from the following feedstocks: (1) total virgin napthas
           resulting from the processing of 185,000 barrels per day (“B/D”) of crude oil at
           Humble’s Baytown refinery, (2) approximately 1,400 B/D of Humble cracked

           9
                Letter from J. M. Bruney, Exxon Chemical Americas to J.A. Saitas, TNRCC,
                “Hydrocarbon Source Investigation,” July 23, 1998. [BAYTECH-00096190]
           10
                M.C. Bulawa, Characterization of Hydrocarbon Samples Recovered From
                Underground Wells, November 28, 1994 [BAYTECH-00045802-45812]
           11
                BAYTECH-00045807
           12
                Major, John T. Morgan, Area Engineer, Completion Report on Construction of BOW,
                p. 20, 72. [BAYHIS-00017008, 17060] BOW, Examination, July 7, 1943, p. 2.
                [BAYHIS-00025750]

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           naptha and (3) a limited amount of naptha, toluene concentrate or toluene
           raffinate from other refineries. The virgin naphtha, plus 1,400 barrels of cracked
           naphtha per day and other materials were sufficient to allow the BOW to
           produce toluene at its capacity rate of 67 million gallons per year.13 The naphtha
           was used in various BOW units. For instance, the Distillation Unit had a
           naphtha charge capacity of 30,000 barrels per 24 hours. The Sulphur Dioxide
           Extraction Plant within the BOW was constructed and equipped with a two-
           stream capacity of 7,290 barrels per stream day of naphtha. The Hydroformer
           had a charge rate of 16,000 barrels of naphtha feed stock per operating day.14
           The BOW used virgin naphtha throughout most, if not all, its operational
           period.15
                b. Xylenes – Xylenes which are also present in the plume, were
                   manufactured in the BOW. As a part of the toluene production process,
                   the heavy reformate stream containing most of the hydrocarbons boiling
                   above toluene was redistilled to prepare a xylene concentrate stream that
                   was returned to the refinery.16 While xylenes were always a by-product
                   of the toluene production, demand for xylenes increased substantially in
                   the early 1940s and as a result the BOW embarked on a xylenes
                   procurement program in 1943. At that time, the BOW began purchasing
                   xylenes from Standard Oil Company of New Jersey (“SONJ”). A contract
                   executed in September 1943 called for the BOW to purchase
                   approximately 21 million gallons of xylenes.17 These xylenes were
                   synthesized simultaneously with toluene in the BOW hydro-former.
                   Under the contract W-ORD-480, the crude synthetic xylenes as by-
                   products of the toluene operation were finished by Humble to nitration
                   grade and sold to SONJ who in turn sold the xylenes to the Ordnance
                   Department.18
                c. Reformate – Reformate which is also present in the plume, was a product
                   of the hydro-former unit. The processes used in the hydro-former
                   included stabilizing and ultimately producing reformate which contained
                   toluol which was obtained through further processing.19 Reformate was


           13
                History of BOW, Supplemental Information, Vols. 1-A thru V-A, Basic History
                through December 31, 1943, p. 14. [BAYHIS-00017875]
           14
                Major, John T. Morgan, Area Engineer, Completion Report on Construction of BOW,
                p. 2. [BAYHIS-00016990]
           15
                In April 1945, responding to the demand for even more production, Humble
                explained the necessary steps to change BOW’s virgin naphtha feedstock to cracked
                naphtha. See: Memorandum re Increase in Production of Hydroformed Aromatics
                Processing Cracked Naphtha at BOW, April 4, 1945. [BAYHIS-00016925 to 16929]
           16
                History of Baytown Ordnance Works [BAYHIS-00017747-7749]
           17
                History of BOW, Supplemental Information, Vols. 1-A thru V-A, Basic History
                through December 31, 1943, p. 9. [BAYHIS-00017870]
           18
                History of BOW, Supplemental Information, Vols. 1-A thru V-A, Basic History
                through December 31, 1943, p. 9. [BAYHIS-00017875]
           19
                M.W. Kellogg, Contract for Construction of a Hydroformer Plant. 1940, pp. 2-3.
                [BAYHIS-00007604 to 7605]

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                    present in two of twelve well samples analyzed in February of 1992 and
                    exhibited concentrations at or greater than 67 percent in those wells.20
                d. Kerosene – Within the Sulphur Dioxide Extraction Plant, BOW used
                   35,000 barrels of kerosene wash oil per stream day.21 Kerosene was
                   present in five of twelve well samples analyzed in February of 1992 and
                   exhibited concentrations ranging from 2 percent to 100 percent in those
                   wells.22
                e. Toluene – The BOW was designed and constructed to produce nitration-
                   grade toluene as its main product. During WWII, the BOW produced a
                   total of 239 million gallons of nitration-grade toluene which accounted
                   for over 40 percent of all toluene manufactured from petroleum.23
                   Toluene was present in eleven of twelve well samples analyzed in
                   February of 1992 at varying amounts.24

           2. Mr. Low references PCB contamination in ground water in his August 10,
              2012 report. (Low p. 23)

           There are no on-going ground water PCB remediation activities at the
           ExxonMobil Baytown Chemical Plant.

           3. In his November 16, 2012 rebuttal report Mr. Low states that insufficient
              information is available to allocate future costs for remediation of Mitchell
              Bay and that this surface water body was “potentially affected by the
              Baytown Complex.”

           As required by TCEQ, ExxonMobil is completing an assessment of the soil,
           ground water and sediments associated with SWMUs 59 and 69. As described
           above, SWMU 69 (Separator 2) formerly discharged untreated industrial
           wastewater into Mitchell Bay. Recent and on-going assessment activities have
           identified on-shore soils, ground water, and off-shore sediments that are affected
           with similar petroleum hydrocarbons 25,26 and that the source of these
           hydrocarbons is SWMUs 59 and 69. As described above, these waste
           management units were operational during World War II. Releases from the

           20
                Baytech-00045807
           21
                Major, John T. Morgan, Area Engineer, Completion Report on Construction of BOW,
                p. 2. [BAYHIS-00016990]
           22
                Baytech-00045797
           23
                Charles S. Popple, Standard Oil Company (New Jersey) in World War II, 1952, p. 112-
                113 [MIS-00031867]
           24
                BAYTECH-00045807
           25
                ERM. Assessment of Petroleum Hydrocarbon Extent, Northwest Dock Area. ExxonMobil
                Baytown Refinery, Baytown, Texas. September 13, 2011. pp. 1 – 29. [BAYTECH-
                00122598]

           26
                Newfields. December 2011 Off-Shore Characterization Program: DART Installation
                and Core Extraction. Prepared for: ExxonMobil Environmental Services, Inc.,
                Baytown, Texas. pp 1-8. [BAYC-0089495-89749]

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           units impacted soil and ground water on shore. Furthermore, because Separator
           2 was historically in direct communication with Mitchell Bay, effluent from the
           Separator impacted sediments that are undergoing assessment and delineation.
           Ultimately, at the completion of the assessment and delineation of affected
           sediments, ExxonMobil will evaluate potential remediation alternatives and
           select a method to remediate the sediments affected by releases from the
           SWMUs.

           4. In his November 16, 2012 rebuttal report Mr. Low disagrees with use of a 1985
              endpoint for the allocation period at the Baytown Refinery. However, 1985 is a
              defensible, and in fact, a conservative endpoint for the relevant period of
              Baytown refinery operations in Mr. White’s proposed allocation for the
              following reasons:
                a.          RCRA compliance: By the mid-1980s RCRA required the refinery to
                            comply with numerous hazardous waste management requirements,
                            required closure of various surface impoundments, and permitting of
                            all wastewater and other types of releases from the facility.
                            Therefore, it is likely that any further new releases from refinery
                            operations or the refinery waste processing system were minimal by
                            1985.

           b.        Additional reasons that are specific to relevant cost components:
                     i.        Separators 3M and 10 closed in 1985
                     ii.       South Landfarm received wastes from 1985 closure of Sep 3M and
                               10 and its closure costs are only allocated to wartime period on
                               that basis
                     iii.      Upper Outfall Canal ceased receiving hazardous wastes in 1993,
                               but Lower Outfall Canal ceased being used at all for wastewater
                               conveyance in 1975. An assumed 1985 end date serves as a
                               conservative mid-point
                     iv.       The relevant SWMUs ceased operation by 1985 and in fact most
                               actually ceased operation a decade or more before 1985
                     v.        Early 1990s hydrocarbon source investigation determined that
                               source of BOW ground water contamination was not due to any
                               current release, but due to historical releases
                     vi.       Canals and separators and refinery ground water contamination
                               is almost wholly in an area whose contamination sources would
                               have been the canals, or separators that ceased operation or were
                               closed in 1985 or prior to that date as detailed above
                     vii.      Mitchell Point and Mitchell Bay contamination is related to
                               releases from waste units that ceased to operate by no later than
                               the early 1960s.




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                Documents Relied On or Considered
                           Appendix A

                           December 20, 2012
                           Project No. 0147586




                      Environmental Resources Management
                          15810 Park Ten Place, Suite 300
                            Houston, Texas 77084-5140
                                  (281) 600-1000


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                                                Appendix B

                                           Documents Relied Upon

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BAYTECH-00045807

BAYTECH-00045797

Charles S. Popple, Standard Oil Company (New Jersey) in World War II, 1952, p. 112-113 [MIS-
   00031867]

ERM. Assessment of Petroleum Hydrocarbon Extent, Northwest Dock Area. ExxonMobil Baytown
     Refinery, Baytown, Texas. September 13, 2011. [BAYTECH-00122598]

ERM. Unit-Specific Hydrogeology and Ground Water Monitoring Systems – Waste
     Management Area-1 (WMA-1). ExxonMobil Baytown Refinery, Baytown, Texas. April
     14, 2010. [BAYC-0089421-89494]

ERM. Revised RCRA Facility Investigation Work Plan for Twenty-Two Solid Waste
     Management Units. Exxon Company, U.S.A. Baytown Refinery, Baytown, Texas. June
     15, 1998. [BAYTECH-00003336 - 3554]

Exxon Company, U.S.A., et. al. Closure Plans for Spill Basin 1, Separators 3A and 3M, and the
      South Landfarm at the Baytown Refinery, Baytown, Texas. January 20, 1985.
      [BAYTECH-00095523]

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   December 31, 1943, [BAYHIS-00017747-7749]

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     Meeting. March 31 – April 4, 1952. [MIS-00031630]

Letter from J. M. Bruney, Exxon Chemical Americas to J.A. Saitas, TNRCC, “Hydrocarbon
        Source Investigation,” July 23, 1998. [BAYTECH-00096190]

Perkins, Jody. An Historical Overview of Solid Waste Management in the Petroleum Industry:
       Discussion Paper # 062. October 1990. [MISC-00010303]

Major, John T. Morgan, Area Engineer, Completion Report on Construction of BOW, p. 20, 72.
   [BAYHIS-00017008, 17060] BOW, Examination, July 7, 1943, p. 2. [BAYHIS-00025750]




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   [BAYHIS-00016990]

M.C. Bulawa, Characterization of Hydrocarbon Samples Recovered From Underground Wells,
   November 28, 1994. [BAYTECH-00045802-45812]

M.W. Kellogg, Contract for Construction of a Hydroformer Plant. 1940, pp. 2-3. [BAYHIS-
  00007604 - 7605]

Newfields. December 2011 Off-Shore Characterization Program: DART Installation and Core
  Extraction. Prepared for: ExxonMobil Environmental Services, Inc., Baytown, Texas. pp 1-
  8. [BAYC-0089495-89749]

Wavro, Stephen. Exxon Baytown Refinery - Past Remedial Activities Report. August 18, 1995.
      [BAYTECH-00013566]




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                          Professional Profile
                              Appendix B

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                      Environmental Resources Management
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  Peter J. Gagnon, P.E., BCEE
  Senior Partner




  Mr. Gagnon has over 18 years experience in                    Registration and Certification
  environmental engineering including site assessment            Licensed Professional Engineer in the States of Texas
  and remediation, stormwater and wastewater discharge             and Montana
  permitting and air emission calculations. His design
                                                                   Board Certified Environmental Engineer in
  projects have included ground water recovery and
                                                                    Hazardous Waste Management by the American
  treatment systems, excavation of affected soils, capping,
                                                                    Academy of Environmental Engineers
  stormwater management and industrial wastewater
  treatment. He has directed numerous subsurface                   Licensed Leaking Petroleum Storage Tank
  investigations at various industrial sites using CPT-             Corrective Action Project Manager in the State of
  ROST, direct-push, hollow-stem auger, air and mud                 Texas
  rotary drilling. Mr. Gagnon’s air experience has
  included regulatory applicability and compliance              Fields of Competence
  assessments and permit applications. He has also               Program and project management
  completed state and federal stormwater and industrial            Civil and environmental engineering
  wastewater permit applications, risk assessments and
                                                                   Site investigation and remediation
  response action plans for industrial sites along the U.S.
  Gulf Coast.                                                      RCRA
                                                                   Site Remediation MACT
  Publications                                                     Risk assessment (human heath and ecological)
  Ostendorf, D.W., DeGroot, D.J., Pollock, S.J., and
                                                                   CERCLA
  Gagnon, P.J. 1995. Aerobic Acetate Degradation near the
  Capillary Fringe of Roadside Soil: Field Simulations             Multi-media permitting and regulatory compliance
  from Soil Microcosms. Journal of Environmental                    assessments
  Quality, 24:334-342.
                                                                Education
  Holmes, L., Rinas, R., Goyette, H., and Gagnon, P.             Master of Science, Environmental Engineering,
  September 18, 2006. Site Remediation MACT –                      University of Massachusetts at Amherst (1994)
  Compliance Strategies for a Cross-Media MACT. 2006               Bachelor of Civil Engineering, Villanova University
  NPRA Environmental Conference.                                    (1992)

                                                                Professional Affiliations
                                                                 American Academy of Environmental Engineers




Delivering sustainable solutions in a more competitive world
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Key Projects
 Partner-in-Charge for assessment, monitoring, and                    Partner-in-Charge for preparation of a successful
   remediation activities at two major Texas Gulf Coast                 EPA Region 6 petition to delist the leachate
   integrated refinery / chemical plant complexes and                   generated by an active land treatment unit (an F039
   a refinery in Montana. Ground water monitoring                       hazardous waste) at a major petroleum refinery in
   activities were conducted to maintain compliance                     Texas.
   with requirements of the negotiated enforcement                     Managed a RCRA corrective action program at a
   orders and RCRA. Assessment activities were                          litigiously sensitive former wood treating facility in
   conducted in the context of a prioritized RCRA                       a low income residential area of Houston, Texas.
   Facility Investigation as well as to address newly                   Directed activities necessary to maintain compliance
   discovered releases. Remediation activities included                 with the site’s RCRA Permit and Compliance Plan.
   ground water remediation systems, monitored                          Provided leadership to technical teams for the
   natural attenuation programs, excavation, and soil                   investigation of DNAPL in a highly complex
   covers as required by negotiated enforcement orders                  hydrogeologic setting, assessment of risk and the
   and RCRA. Remediation activities complied with                       evaluation of potential remedial alternatives in
   Site Remediation MACT, as applicable.                                accordance with RCRA and TRRP.
       Prepared technical justifications and RCRA Permit              Designed and implemented the corrective measures
        modifications utilizing EPA’s Contained-in-Policy and           for a Site-wide Remedy at a chemical plant near
        site-specific data for the risk-based clean closures of         Mobile, Alabama including source removal
        permitted hazardous waste management units at                   (excavation) and source reduction (in situ chemical
        refineries in Montana and Texas. In both cases the              oxidation) which allowed the termination of a
        agency-approved approach eliminated the need for                ground water pump-and-treat system that had
        post-closure care. Ultimately one client redeveloped            operated at the plant for over 20 years.
        a former landfarm to accommodate part of a new                 Directed and managed numerous site assessments
        process unit while the other client realized over $8            that utilized a variety of techniques to delineate the
        million in cost savings by eliminating the need for             extent of affected environmental media at multiple
        an engineered closure and long-term monitoring of a             locations throughout the U.S. Gulf Coast region
        surface impoundment.                                            including sites impacted with pesticides, herbicides,
       Partner-in-Charge for a project involving on-going              metals, solvents, and various petroleum
        compliance of a permitted hazardous waste                       hydrocarbons (including LNAPLs and DNAPLs).
        landfarm at a major petroleum refinery in Texas.               Directed the completion of risk assessments to
        Prepared RCRA permit modifications and provided                 evaluate the potential risks associated with the
        ongoing consulting regarding Permit requirements.               exposure of human and environmental receptors to
       Partner-in-Charge for preparation of a RCRA permit              affected media under various exposure scenarios for
        renewal application for a major petroleum refinery              industrial sites along the U.S. Gulf Coast.
        in Texas. The permit application included five units           Completed Response Action Plans/Corrective
        in Detection Monitoring, one unit in corrective                 Measures Studies under various regulatory
        action, and over 90 other waste management units.               programs to evaluate remediation technologies to
       Served as design engineer for the implementation of             achieve response action objectives.
        the various remedial elements in the EPA-approved              Conducted recoverability assessments for NAPL
        ROD for the Tex Tin Superfund Site in Texas City,               plumes at two Texas Gulf Coast refineries using site-
        Texas. Design responsibilities included preparation             specific data and the models included in API
        of text, design drawings and engineering analyses               Publications. Residual NAPL saturation, volumes of
        for the Remedial Action Work Plans and                          readily recoverable NAPL, and temporal variation of
        Construction Quality Assurance Plans for the                    NAPL recovery rates were estimated while also
        various Work Packages included in the phased                    assessing the fate and transport of the associated
        design/build approach used at the site.                         dissolved phase plumes.



09/12                                                                                                                   GAGNON
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       Served as Lead Assessor for an audit team reviewing           Directed numerous subsurface investigations at
        all aspects of a Texas refinery/petrochemical                  LPST sites in the Houston, Texas area in compliance
        complex’s compliance with Site Remediation MACT.               with State requirements and was responsible for
        The audit included recommended solutions                       preparing the reports for submittal to the client and
        designed to maintain long-term compliance.                     the state regulatory agency.
       Completed Site Remediation MACT applicability                 Directed the completion of risk assessments to
        determinations for seven refineries (located in Texas,         evaluate the potential risks associated with the
        California, and St. Croix) and two chemical plants             exposure of human and environmental receptors to
        (located in Texas and Arkansas). As part of these              affected media under various scenarios for industrial
        determinations, assessed various remediation                   and gasoline retail sites in Texas.
        system components and activities subject to                   Directed and oversaw the removal of 11 UST
        emission controls and provided methods of                      systems at gasoline retail facilities in the Houston,
        achieving compliance including modifying existing              Texas area.
        facility procedures, developing Site Remediation
                                                                      Designed ground water and LNAPL recovery
        MACT-compliant Sampling and Analysis Plans, and
                                                                       systems utilizing pneumatic and electrical pumps
        Soil Management Plans.
                                                                       for facilities Midland, Houston, Baytown, and
       Developed a spreadsheet-based tool for use by a                Conroe, Texas. Additionally, constructed ground
        major energy corporation to assess the applicability           water recovery and treatment systems at locations in
        of Site Remediation MACT at its 16 U.S. refineries.            Ft. Worth and Dawson, and Houston, Texas.
        Subsequently conducted an internet-based training
                                                                      Prepared design drawings and construction
        session for corporate and facility personnel to
                                                                       specifications to cover petroleum hydrocarbon
        demonstrate the use of the tool and the MACT
                                                                       affected soils from a former surface impoundment
        requirements. Completed applicability assessments
                                                                       with a 3-acre reinforced concrete parking lot.
        and assisted in developing and documenting
        compliance strategies at four of the client’s Texas           Developed design drawings and specifications and
        refineries.                                                    oversaw the excavation of over 9,000 cubic yards of
                                                                       affected soil at a former pesticide blending facility
       Trained over 100 employees over a three-day period
                                                                       near Waco, Texas.
        at a refinery in the U.S. Virgin Islands on the
        implementation of new or updated procedures                   Managed preparation of an Activity
        designed to maintain the refinery’s compliance with            Characterization Report required to approve the
        Site Remediation MACT.                                         operation of a floating production, storage, and off-
                                                                       loading type unit for the production of oil and gas
       Managed remedial and investigative activities at
                                                                       from up to seven wells off the coast of Brazil.
        multiple gasoline retail facilities in Houston and
        Austin, Texas. Responsibilities included client and
        agency interaction and coordination of day-to-day
        activities.
       Directed routine ground water monitoring activities
        for a portfolio of LPST sites in Houston and Austin.
        Tasks included coordinating sampling activities,
        verifying field and laboratory analytical data,
        inferring data trends, constructing potentiometric
        surface maps, and isoconcentration maps and
        completing required reports.




09/12                                                                                                                   GAGNON
